 Case 1:11-cr-00819-RRM Document 55 Filed 02/19/16 Page 1 of 1 PageID #: 266
                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
PWB                                               271 Cadman Plaza East
F. #2010R02201                                    Brooklyn, New York 11201

                                                  February 19, 2016

By Hand Delivery

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                Re:   United States v. ‘Isa
                      Criminal Docket No. 11-819 (RRM)

Dear Counsel:

               The government hereby memorializes its disclosure earlier today of classified
discovery materials. These materials are covered by the Classified Discovery Protective
Order entered by the Court on or about February 11, 2016. If you have any questions or
further requests, please do not hesitate to contact me.

                                                  Very truly yours,

                                                  ROBERT L. CAPERS
                                                  United States Attorney

                                           By:          /s/
                                                  Peter W. Baldwin
                                                  Zainab Ahmad
                                                  Alexander Solomon
                                                  Assistant U.S. Attorneys
                                                  (718) 254-7000

Enclosure

cc:    Clerk of the Court (RRM) (by ECF) (without enclosures)
